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Exhibit A
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Page 1

1 IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
SOUTHERN DIVISION

W NY

4 JOHN AARON VANDERBURG,
Plaintiff,

6 VERSUS CIVIL ACTION NO: 1:08CV90-LG-RHW

HARRISON COUNTY, MISSISSIPPI,
8 by and through its Board of
Supervisors; HARRISON COUNTY
9 SHERIFF, George Payne, in his
official capacity; CORRECTIONS
10 OFFICER RYAN TEEL, acting
under color of state law,
11 Defendants.

REE RS NE

DEPOSITION OF JOHN AARON VANDERBURG

15 Taken at the offices of Brown Buchanan,
P.A., 796 Vieux Marche' Mall, Biloxi,

16 Mississippi, on Friday, August 21, 2009,
beginning at 9:33 a.m.

SARA Aa ARLEN

APPEARANCES:

PATRICK R. BUCHANAN, ESQUIRE
20 Brown Buchanan, P.A.
796 Vieux Marche' Mall, Suite 1
21 Biloxi, Mississippi 39530
ATTORNEY FOR PLAINTIFF

ERA DUAR EEN SOE OEE

JOE C. GEWIN, ESQUIRE
23 HALEY BROOM, ESQUIRE
Dukes, Dukes, Keating & Faneca, P.A.
24 2909 13th Street, Sixth Floor
' Gulfport, Mississippi 39501
25 ATTORNEYS FOR GEORGE PAYNE, JR.

Sessa
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oO aT HD oO FP WD NH FF

Q. And isn't it true that the deputies,
when you arrived at the jail, actually met you
outside, or Officer Diehl outside, when you

arrived at the jail?

A. I recall one of them opening the door
for us.
Q. And on this document, the officer

checked that you were drinking, that you were
drunk, that you were resistant and belligerent.
Do you agree with all of that?
A. Yeah.
MS. BROOM:
We're going to make that Exhibit 1,
please.

Q. Now, you arrived at the Harrison County

Adult Detention Center, according to the records I

have, near midnight. Do you agree with that?

A. I don't recall what time it was.

Q. Okay. Would you have any reason to
dispute that it was 2348?

A. No.

Q. You would agree that you were -- once
you entered the booking, department at the jail you
were ordered to stand against the wall?

A. I don't recall that, but I'm sure they

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Oo aT nD OO FF W DN FF

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did because all that was going on. We were there
on the wall.
Q. And that's normally what -- have you
ever been to the Harrison County jail before?
A. Yes.
Q. Okay. And is that normal procedure, for
them to order you to stand against the wall?
A. Yes.
Q Now, you didn't comply, did you?
A. Yes.
Q You didn't stay against the wall, did
you?
A. Yes. After watching the video, I think
I stepped off about a step or so just to see what
they were doing to the girl.
Q. But you stepped off the wall?

A. I did step off the wall.

Q. In opposition to what the officers asked
you to do, correct?

A. I don't recall them telling me to stand
against the wall, though.

Q. Could they have told you to stand
against the wall?

A. They could have, but I don't recall it.

Q. Now, in your complaint you allege that

SLs CaS DE RUSE TEP LSU DN CIES LR LATE SE BSE EE LEON ES IE NL ESF UNE TE IES EROS OT NE BALL a ES BER TED SE ER EAT HA HO TLE DPSS SDE SIEGE ED Ne DOERR IPRS EOE HAS CASE GNESI

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1 Teel was, I think, assaulting a lady.

2 A. Correct.

3 Q. Correct? Now, you didn't see that whole

4 incident, did you, between Teel or the other

5 officer and the lady, did you?

6 A. It was ongoing when we went in.

7 QO. Right. So you don't know what

8 transpired before you entered?

9 A. No.
10 Q. You don't know what threats, if any, she
11 made to Officer Teel?
12 A. No.
13 Q. You don't know if she physically hit
14 Officer Teel? You don't know anything that
15 happened between her and anyone else?
16 A. No, matam. It was ongoing when I went
17 in.
18 Q. Okay. You walked away from the wall and
19 got involved in that incident, didn't you?
20 A. No, ma'am.
Z21 Q. You mouthed off to Officer Teel, didn't
22 you?
23 ‘A. I did.
24 Q. Do you recall what you said to Officer

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A. I do.
Q. What did you say?
A. I said, do you think you guys can handle
that girl all by yourself.
MR. BUCHANAN:

Can we go ahead and mark this while

she's --

Oo aT HD Oo FP W NY FR

THE WITNESS:

TE NSE SURES ESTER pe SND E NEC EEE SE EEE OTE FG TAURI SHOES SE ER i ESL TOR TEE EOE SE

9 Prior to that I looked at the guy, if I
10 may ~--
11 MR. BUCHANAN:
12 Well, wait a minute. She's got to mark
13 this exhibit, then you can --
14 THE WITNESS:
15 Oh.
16 MR. BUCHANAN:
17 And then let her ask you a question.
18 THE WITNESS:
19 Okay.
20 (Exhibit 1 was marked.)
21 MS. BROOM:
22 Q. At this time, instead of sitting against
23 the wall and minding your own business, you made a
24 comment to the officer, and actually a sarcastic

25 comment, didn't you?

Tee ee See eM ca TED eH E OOOO De Tad SD OO SRE COLL LEP WAN Ed COT BT od OE SERED ETE SLs SIS I IEW A SAS TSO EDL ESD STS ISLS DEO ARLE SED RES ESS ED LIE SEES SES EMEA DLT EES IODA EGRET EE: ane

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Oo was HD OO BP WW NY FH

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A. Yes.

Q. It was none of your business what was
going on with the other inmate, was it, or
detainee?

A. It wasn't my business.

Q. But you got involved anyway, didn't you?

A. It just appeared to me she was being
tortured like that, and I just thought that was
terrible. And I asked the guy standing next to
me -- I mentioned, I said, man, I don't think I've
ever seen anything quite like this before; and he
said, me neither. And then that's when I made my
comment.

Q. You were still drunk at this time,
weren't you?

A. Not as drunk.

Q. But you were drunk?

A. I doubt it. No. I wouldn't think I
would be drunk.

Q. You don't think you were --

A. By the time I was arrested to get to the
jail, I had pretty much sobered up.

Q. Okay. What was the time lapse between

the time you were arrested and the time you got to

the jail?

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Oo aT DD oO FPF W NY BR

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A. I would say two or three hours. T'm not
real sure.

Q. Two or three hours. And you think a
12-pack of beer, or a little less if you didn't
consume all of it, would have left your system and
the effects --

A. I was pretty -- getting straight by
then, yes, ma'am. Probably after drinking beer, I
think I'd be somewhat intoxicated, but very
coherent and very aware of my surroundings, no
more weaving around, no more slurring my words. I.
was pretty clear in what I was doing and what I --
where I was at at the time.

Q. After you made that comment to Teel,
what did he state to you?

A. He said, this will be you if you don't
shut your fucking mouth.

Q. Okay. And were you still handcuffed at
this time?

A. Yes, ma'am.

Q. Now, in your complaint you stated you
were still handcuffed and still standing still.
But that's not the case, is it; you actually
walked off against the wall?

A. Looking at the video, I took a couple of

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oO ya DBD OO SF W DN FH

steps off the wall to get -- I guess I was

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concerned about the girl.

Q. Okay. And what did you actually see
happen to the girl?

A. They were tackling her and roughhousing
her and trying to put tape on her mouth and put
her in the chair.

Q. Did you ever see any physical assaults
against the girl?

A. Well, they all were just -- there were
SO many of them, I couldn't tell you, just trying
to -- they were just trying to subdue her, I mean,
and they were being real rough. And she was
screaming and crying and-everything else.. I was :
concerned for her, I guess, I mean.

Q. But you simply saw the officers taking
her down? You didn't know what was going on
before, but then you felt the need to intervene in
that, didn't you?

A. T made a comment. I made the comment
that I made and I just -- I think if I had it to
do over again, I'd do it again.

Q. And what would you have done?

A. I'd say the same thing because they were

-- you know, that's far excessive force to subdue

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Oo wa DD oO FPF WW DY FP

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-a 100-pound girl, and they're surely trained to do

it better than that because that was ridiculous

what I saw.

Q. Do you know if the girl was injured?
A. I don't know.
Q. Do you know if the girl was being

combative?

A. I don't know how it started. Once
again, you're right, it wasn't my business
exactly; but it just didn't look right to me.

Q. And you don't know if the girl had
yielded a knife against the officers?

A. I have no idea who she was or what she
did or anything like that. /

Q. Well, from what you saw, you simply saw
some officers taking another female down, correct?

A. They were taking her down, and it looked

to me like they were bending her body all kind of

_ different ways. And it just appeared, you know --

I mean, it is what it is; they were beating her
up.

Q. Okay. How were they beating her up?

A. Tackling her, trying to just -- to me it
appeared they were bending her body all kind of

ways trying -- I'm not sure if they were trying to

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get her on her back or get her on her stomach. I
couldn't tell what they were doing. I don't even
know if they knew what they were doing; but, once
again, that's what I saw.

Q. You didn't have a good visual of what
was going on, did you?

A. I could see as good as anybody. I was
right there.

Q. But a lot of officers were around, so
you couldn't see every move that she made or the

officers?

A. Correct. Yeah. There was a lot of
officers on her. There was three or four that I
remember.

Q. After you and Teel had these words that

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were exchanged back and forth, you were eventually

ordered to go stand against the booking counter,

correct?
A. Yes.
Q. Okay. But nothing happened between the

time that you made those comments from the time
that you were ordered to stand against the
counter, correct?

A. Not right then, no.

Q. Isn't it true that one of the arresting

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1 officers, I think the arresting officer that

2 brought you in, had to place you back on the wall,
3 as well?

4 A. At one point, I guess I was standing in
5 the middle of the floor, and he threw me up

6 against the wall.

7 Q. So two officers, by that time, had

8 already asked you to stand against the wall,

9 right?
10 A. No.
11 Q. No? So just the arresting officer?
12 A. No one ever told me to get back on the
13 wall.

14 Q. Okay. Who pushed you up against the

15 wall?

16 A. T'm not sure, but it looked like it was
17 ‘Teel.

18 Q. Okay. So prior to you going to the

19 booking counter, you've already been told to stand
20 against the wall and actually had to be placed

21 against the wall?

22 A. I was placed against the wall.

23 Q. Okay. Now, after you were ordered to go
24 stand at the counter, weren't you ordered to put
25 your hands on the counter, the booking counter?

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25

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A. I was handcuffed.

Q. But weren't you ordered to place your
hands on the counter?

A. No. Iwas handcuffed. The only way I
could possibly place my hands on the counter if I
turned around and someone gave me a boost. In
other words, I was handcuffed.

Q. So when were the handcuffs taken off of
you? Are you sure about that?

A. Yes.

Q. When were they taken off of you?

A. After -- they let me out of the holding
cell eventually, and then they took the cuffs off
me.

Q. Okay. Were you ordered to go up against
the booking room counter?

A. Yes.

Q. And were you ordered to stand still and
stand in front of the booking room counter?

A. No.

Q. No. Do you remember that or could you
have been?

A. Oh, yeah, I remember.

Q. Okay. And isn't it true that at that

time you picked your left -- I'm sorry, your right

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-hand up and brought it back toward the officer?
A. No, ma'am.
Q. So at no time did you turn your body
slightly nor lift your right hand up --
A. No.
Q. -- back toward the officer?

A. Nope. What happened --

Oo HI WD OF FSF W NY FF

Q. No. That's not my question. I'm sorry.
9 MR. BUCHANAN:

10 Well, he has an opportunity to explain.

11° Feel free to explain.

12 MS. BROOM:

13 — Q. Okay. Well, go ahead.

14 A. Well, what happened was when my hand was

15 up in the air, the other officer had my -- my

16 handcuffs were too tight to start with, and I was
17 complaining about that already. And I looked back
18 and said, man -- I said, what's going on, man.

19 You know, I told him he was hurting my arm, to

20 take it easy is what I said. I said, take it

21 easy, you're hurting me, you're hurting me,

22 because he had my hand up. My hand was up because
23 he had me by the handcuffs, and they were tighter
24 and tighter and tighter. And I said, just take it

25 easy is what I said.

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Oo wa HD OF FPF W NY FF

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Q. Okay. Who had your hand up?

A. I don't know that officer's name, but
the one on the right side of me had my hand in the
air.

Q. So you're saying the officer was holding
your hand up? .

A. He had my -- he had me by my hands, and
the other guy was slinging my shoes and socks off
and threw my hat on the floor and stuff. And I
told them, take it easy is all I said.

Q. Okay. And then they took your left sock

off, correct?

A. Yes, ma'am.
OQ. I mean, your shoe and your sock?
A. Correct.

Q. Okay. And then at that time, before
they could get to your right sock, that's when the
hand was up, correct?

A. If I recall, it was up the whole time.

Q. All right. And then you were taken down
to the ground, correct?

A. Yes.

Q. And how were you taken down to the
ground, in your own words?

A. They slammed me down face first into the

Fae a SONATE AEBS R ND oT DENA OE MLD SSSA PG Wa EH TANT LEI PLO ESRD SE DROBO DE CTL ELS FEA RE LEG TU YES SD NEI EGTRRA IIA EDEL SUD ODENSE GUID LDS STE SO TEE DES EEG GL OE ELSES BBRENI SAREE SBOE

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concrete floor.
Q. Okay. Tell me the mechanics of your
body of how they got you from a standing position
to the ground.
A. IT think the weight of the man pretty
much got me down, my hands behind my head. I

think I went knees first. I think I landed on my

Oo AF D oO FP W NY F

good leg first and then ended up on my stomach.

9 And he put his knee in the back of my neck and
10 proceeded to pull this leg -- I'm on my stomach,
11 and he proceeded to pull my bad leg behind my
12 head. And I was like, oh, my God, man, I have a
13 bad leg or something like that. And the lady at
14 the desk says, he does have a bad leg. And he
15 says, oh, which one, this one? And she said, yes.

16 And then he pulled this one over by my head.

17 Q. Who did that?

18 . A. Teel.

19 . Q. How do you know it was Teel?

20 A. Well, because he was very -- he's the

21 biggest guy in the house, so he was pretty easy to

22 recognize. ,
23 Q. Okay. So did they pull your arm to take
24 you to the ground and turn your arm to take you to

25 the ground?

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kind of how they did it. They already had my
hands, so they were already, I mean, in the
position to start with, so --

Q. So they had your right hand, and then
they -- what did they do with your right hand to

Oo wa DH TO FSF W DN FF

make you go to the ground?

9 A. My hands just went over -- I mean, they
10 were already elevated, so they just -- with that,
11 I think Teel probably grabbed me -- I mean, Teel
12 grabbed me from behind and threw me down.

13 Q. How did he grab you?
14 A. Just grabbed my torso. One officer had

15 me by the handcuff, arm, elevating my arm up by my

16 head. That gets you to lean over, and then Teel
17 just basically jumped on top of me.

18 Q. And threw you down to the ground?

19 A. Yes, ma'am.

20 Q. Now, why do you think all these officers
21 would have just thrown you to the ground?

22 A. Because they've been doing this for

23 years. I've been in and out of that jail. I've
24 seen it happen before.

25 Q. Has it ever --

A. Yeah. If you pull, you know, your hands

straight up, you're going to go down, and that was

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1 A. Because I have a smart mouth maybe.
2 Q. And during that time, you had a smart
3 mouth, didn't you?
4 A. I told them what I said about the girl.
5 Q. But it didn't stop there, did it? You
6 kept --
7 A. No. After that, that was it. TI never
8 said another word.
9 Q. Okay. So at the counter you're alleging
10 that you didn't make a peep?
11 A. I told them to take it easy, you're
12 hurting my arm. I said, what's going on, man,
13 you're hurting my arm, take it easy, just like

14 that. That's all I said. I didn't cuss them out,
15 call them a name or anything.

16 Q. So these officers, after you made that
17 statement, simply just took you down --

18 A. Took me down on the ground, yes, ma'am.
19 I'm sorry I interrupted her. I'm going

20 to try to stop doing that.

21 Q. Are you testifying that you didn't jerk
22 away from the officer at all while at the counter?
23 A. Yes.

24 Q. You didn't?

25 A. I'm testifying, yes, I did not.

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Q.  OKay. Just to make it clear. I'm
sorry.
A. Excuse me. Yes.
And that you weren't verbally resistant
either at that time?
A. No, ma'am.

Q. Is that your testimony? . :

Oo TO oO FF W NY FF
Oo

A. Yes.

9 Q. Okay. And then you were taken to the
10 ground is what you're alleging. And when you got
11 on the ground, you're alleging that Officer Teel
12 picked up your left leg?

13 A. Yes, ma'am, His knee was in the back of |
14 my neck, which made it difficult to breathe, and
15 he put his hand on my ankle of my left leg.

16 Q. With his knee still on your --

On my neck.

He reached and grabbed your ankle?
‘Yeah.

How tall are you?

Ss
WO
PO FP OO PF

Six foot.

22 Q. Did his knee remain on your neck while
23 he grabbed your ankle? :
24 A. Yes.

25 Q. Okay. And then what happened?

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A. TIT said -- I told them I had a bad leg,
and I said it -- I'm sure I was -- I was trying to
make it be known I had a bad leg. And the lady
said, he does have a bad leg. And he goes, which
one, this one? And then he acted like he was
going to do it, and then he did -- pulled this one
behind my head.

o YT DO oO FPF W NY FF

OQ. For the record, he acted like he was

9 going to do the left leg?

10 A. Yes, ma'am.

i1 Q. But he didn't actually pull it up?

12 A. He didn't pull the left leg.

13 Q. Okay. So your left leg, the leg that

14 was injured, never was actually pulled to your
15 head, was it?
16 A. No.
17 Q. Okay. Then they pulled the -- you're

18 alleging they pulled the right leg up?
19 A. Correct.
20 Q. Which is the leg that was not injured

21 from falling out of the tree?

22 A. Correct.
23 Q. Now, you said Officer Teel had placed
24 his knee on your neck. When did he ever get up

25 from being on your neck, his knee on your neck?

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Oo NHS WD OO Be W NYO FH

A. After that, they picked me up and threw
me in the cell.

Q. So you're alleging that Teel's knee
stayed on your neck the entire time you were on
the ground?

A. Pretty much for the most part.

Q. I mean, for the entire event?

A. When they took me down -- well, no.
When they took me down, that -- you know, first
they took me down. And it all happened real fast
anyway. And when he grabbed my legs is about the
same time he put his knee in my neck, about the
same time.

Q. Okay. When this --

A. Like I say, yeah, they didn't -- he

didn't just take me down and put his knee in my

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neck right away. He did it just right after that.

Somewhere in there he put his knee in the back of
my neck and then pulled my leg behind my head.

Q. Did anybody mention why they were
pulling your leg -- legs up?

A. No.

Q. But he asked you about the leg, the left

leg before he -- or you told him when he started

to touch it or what?

PRL BOT HO IE ETE BEE EN DDE SLL AES IR AIRGAS HE TT EEL OE AIST TL DDE EAS ISS BS DSO DS RAS SEED OREN ROL SCE LET SET DRL EA EESTI CLL TDI DER SIE ES TE ERODE TER ELE DAE EE EEE A ES SEED

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Oo YT HD oO FPF W NY FF

24
25

USO po LORE

When

Yes.

Oo FF © PF

Then

right leg?

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I just screamed out, I have a bad leg.

he touched your leg?

he said, okay, well, I'll go to the

A. Correct.

Q. Okay.

And then they pulled that leg up.

Then what happened then?

A. They

took me to the holding cell and

handcuffed me to the wall.

Q. Is that when they took your shoes and

socks up, when

that when they

right leg that

that right leg
A. No.

shoe and -- my

Q. Were

ground?

QO. Were

officers?

they pulled that right leg up? Is
took the shoe and sock off of your
was still there, when they pulled
up?

I don't recall when they took my
other sock off, not exactly.

you resisting when you were on the

you stating anything to the

A. Not other than what I just said, I have

a bad leg.

Q. Did the officer state anything to you?

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A. Yeah. /

Q. What did they state?

A. The one police officer -- the one
corrections officer came to the door after I was
handcuffed to the wall and he said, welcome to the /
Harrison County house of Payne.

Q. I'm talking about when you were on the

Oo wast nD oO Ff W NY FF

floor there.

SCAERG URES NS ee a ERE PL Ain San RAMEN ARAN OS

9 A. No.

10 QO. Now, the arresting officer, he was
11: standing nearby or actually within -- around with :
12 all the other officers and actually bent down,
| 13 didn't he?

14, A. Yes, ma'am. He was right there.

15 Q. Okay. Did he ever state anything?

16 A. No, ma'am, not that I can remember.

ETE RTE aR AERP ERE EN RTT EE

17. Q. That arresting officer, he had a good
18 visual and he probably -- or he saw everything,
19 didn't he?

20 A. Yes, ma'am.

21 Q. He saw everything that transpired from
22 the moment you were at the counter till the moment
23 you were put into the holding cell, didn't he?

24 A. Yes, ma'am.

25 Q. And is that Officer Diehl?

Se ee ae TE SEE De LENE USACE SOPOT TU SOE UOT OLE WI HLS ODE SORE EOE AEE IDO ISG LORDS ESO Hs EOS UBL ERS LTE ISLES SBOE SRS RISE aE BTR Te ee TUL aca ONT PMURET EI OE EDD RHEE OO AINE RIO OL EEE

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